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 3      Telephone: 530.759.0700
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 4
     Attorney for Defendant
 5
     ALBERT CIPOLETTI
 6
 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10                                        SACRAMENTO DIVISION

11
12   UNITED STATES OF AMERICA,                    )    Case No. CR S 10-0444 GEB
                                                  )
13                               Plaintiff,       )
                                                  )    STIPULATION AND [PROPOSED]
14          vs.                                   )    ORDER TO EXTEND VOLUNTARY
                                                  )    SURRENDER DATE
15                                                )
                                                  )
16   ALBERT CIPOLETTI,                            )
                                 Defendants.      )
17                                                )

18
19           It is hereby stipulated and agreed to between Plaintiff, UNITED STATES OF
20   AMERICA, through its counsel of record, S. Robert Tice-Raskin, Assistant United
21   States Attorney, and Defendant, ALBERT CIPOLETTI, through his counsel of record,
22   Joseph J. Wiseman, that Defendant’s voluntary surrender date of July 8, 2011, be
23   extended to August 5, 2011 at 2:00 p.m. The undersigned are entering into this
24   stipulation and requesting this continuance to provide Defendant additional time to
25   Arrange his personal and business affairs before he surrenders to the Bureau of
26   Prisons.
27           Therefore, Defendant requests the Court grant this request to extend his
28   voluntary surrender date to August 5, 2011. If there is not a designation, defendant

                                                   1
     Stipulation and Proposed Order                                          CR S 10—0444 GEB
     To Extend Voluntary Surrender Date
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 1   must self-surrender at the Office of the U.S. Marshall in the Eastern District of New
 2   York, Brooklyn, NY.
 3
 4   Dated: June 30, 2011                       Respectfully submitted,
 5                                              JOSEPH J. WISEMAN, P.C.
 6                                              By:    /s/ Joseph J. Wiseman
 7                                                      JOSEPH J. WISEMAN
                                                        Attorney for Defendant
 8                                                      ALBERT CIPOLETTI
 9
     Dated: June 30, 2011                       BENJAMIN B. WAGNER
10                                              United States Attorney
11                                              By:       /s/ S. Robert Tice-Raskin
12                                                    S. ROBERT TICE-RASKIN, AUSA
                                                      Attorney for Plaintiff
13                                                    UNITED STATES OF AMERICA
14
15                                        [Proposed ] ORDER
16           A request to extend the time for voluntary surrender having been presented to
17   the Court and GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED
18   THAT defendant, ALBERT CIPOLETTI, shall self-surrender, as designated by the
19   Bureau of Prisons, on or before August 5, 2011. If there is not a designation,
20   defendant must self-surrender at the Office of the U.S. Marshall in the Eastern District
21   of New York, Brooklyn, NY.
22           Date: 7/7/2011
23
24                                                      _________________________
                                                        GARLAND E. BURRELL, JR.
25
                                                        United States District Judge
26
             DEAC_ Signatu re-END:




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28
             61khh4bb
                                                  2
     Stipulation and Proposed Order                                          CR S 10—0444 GEB
     To Extend Voluntary Surrender Date
